Case 3:23-cv-00455-S-BN            Document 125     Filed 11/19/24      Page 1 of 2      PageID 2728



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS


   Adam Ferrari,

                      Plaintiff,
                                                      Civil Action No. 3:23-cv-455
          v.

   William Francis,                                   JURY TRIAL DEMANDED

                      Defendant.


                NOTICE OF APPEARANCE OF COUNSEL FOR PLAINTIFF

         TO THE HONORABLE JUDGE OF SAID COURT:

         David Y. Sillers, who is admitted to practice in this Court, hereby enters his appearance as

  Counsel for Plaintiff and requests that notice of all pleadings, motions, orders, notices and other

  papers in this matter be provided to him at the address below:

                                   David Sillers
                                   david@clarelocke.com
                                   Clare Locke LLP
                                   10 Prince St.
                                   Alexandria, VA 22314
                                   Phone: (202) 899-3884


  Dated: November 19, 2024                             Respectfully Submitted,

                                                       /s/ David Y. Sillers
                                                       DAVID Y. SILLERS
                                                       Texas Bar No. 24072341
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                                                       COUNSEL FOR PLAINTIFF
Case 3:23-cv-00455-S-BN        Document 125         Filed 11/19/24      Page 2 of 2   PageID 2729



                                 CERTIFICATE OF SERVICE

  Undersigned counsel certifies that on this November 19, 2024, the foregoing document was served
  through filing with the Court’s CM/ECF system in accordance with Fed. R. Civ. P. 5(b)(2)(E) and
  Local Rule 5.1(d).

                                                      /s/ David Y. Sillers
                                                      DAVID SILLERS




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